    REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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              EXHIBIT 9
PUBLIC REDACTED VERSION
          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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                                                                   Page 1

1                            UNITED STATES DISTRICT COURT
2                          NORTHERN DISTRICT OF CALIFORNIA
3
4       SOCIAL TECHNOLOGIES LLC,                   )
5                          Plaintiff,              )
6                    vs.                           ) Case No.
7       APPLE INC.,                                ) 3:2018-cv-05945
8                          Defendant.              )
9       ______________________________)
10
11                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
12
13         VIDEOTAPED DEPOSITION OF APPLE INC. THROUGH 30(b)(6)
14                             WITNESS KURT KNIGHT
15                            Palo Alto, California
16                            Friday, June 21, 2019
17
18
19
20
21      Reported by:
22      ASHALA TYLOR, CSR #2436, CLR, CRR, RPR
23
24
25

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1       feature?
2               A.   Yes.
3               Q.   Is Apple's Memoji feature considered to be
4       augmented reality?
5                    MS. TORRES:       Objection to form.
6                    THE WITNESS:        I would not consider it an
7       augmented reality feature.
8       BY MR. HECHT:
9               Q.   What would you consider the Memoji
10      feature?
11                   MS. TORRES:       Objection to form.
12                   THE WITNESS:        If I were to describe what
13      I -- a description of the Memoji feature, I would
14      describe it as a way to create a personalized
15      animated emoji of yourself that you could share as a
16      still or a video clip as well as in other ways.
17      BY MR. HECHT:
18              Q.   Does Memoji feature allow users to create
19      a GIF selfie?
20                   MS. TORRES:       Objection -- objection to
21      form.
22                   THE WITNESS:        So functionally, yes, you
23      can use an image of yourself, a video of yourself,
24      and place a animated emoji image on top of that.
25      You could -- again, it could be a still or a video.

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1       If the -- what the actual video transport is, so
2       whether that's a GIF or some other format, I'm
3       not -- I'm not actually sure technically what the
4       transport is.        But functionally, yes.
5       BY MR. HECHT:
6               Q.   Okay.     Does Apple's Memoji feature allow
7       users to accessorize GIFs with static images?
8               A.   Yes.
9               Q.   Is that -- go ahead.
10              A.   With -- with the same caveat in terms of I
11      don't know if GIF is the actual format, but, again,
12      from a consumer standpoint, yes.
13              Q.   Is that true in iOS 12?
14                   MS. TORRES:       Objection.
15      BY MR. HECHT:
16              Q.   When we're talking about the Apple Memoji
17      feature, I understand that there's a new version
18      that's coming out, the iOS 13.                 For purposes of the
19      deposition, I just think we -- we're going to focus
20      on iOS 12, which is the current version.                 Is that
21      fair?
22              A.   I am fine answering these sets of
23      questions in the context of iOS 12, please.                 I'll --
24      I will say if I'm thinking of iOS 13, if you can say
25      that as well.        I mean I will do my best to use that

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1               Q.   When you say "working group," what do you
2       mean?
3               A.   The group that often is responsible for
4       features at Apple is a combination of an engineering
5       team that is coding the feature, the human interface
6       group, which defines the look and feel of the
7       feature, and product marketing.
8                    And so by "working team," I mean that
9       group of -- of -- the cross-functional team that was
10      actually doing the day-to-day work of bringing the
11      feature into reality.
12              Q.   And how do you know that the working group
13      was using the phrase "Memoji"?
14                   MS. TORRES:       Objection to form.
15                   THE WITNESS:        So this answers the other
16      question, I believe, you want to get into, which is
17      my conversation with Ronak Shah.
18      BY MR. HECHT:
19              Q.   Okay.
20              A.   So I had also had conversations with Ronak
21      in that           time frame starting to talk about
22      potential names.
23              Q.   And Ronak told you that other people were
24      referring to it as "Memoji"?
25              A.   And so at that time, Ronak highlighted

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1       Memoji as a name that both he liked, as well as had
2       favor by the other people in that working group.
3              Q.    He had favored the Memoji name, as well?
4              A.    That was a name.           Not necessarily the only
5       name, but a name that he liked at that time, yes.
6              Q.    Do you remember any of the other names
7       offhand that were being considered for this feature?
8              A.    So I -- I can't -- in specifically that
9               time frame?
10             Q.    Yes.
11             A.    I'm not -- I -- I remember other names
12      that were discussed.          I'm not certain if they were
13      ones that we were discussing in                       at that time.
14             Q.    By                , were you tasked with naming
15      the feature?
16             A.    Say that one more time to make sure.
17             Q.    In                , were you tasked with naming
18      the feature that would become the Memoji feature?
19             A.    I -- it was part of my job responsibility,
20      but I was not specifically tasked.                  No one ever told
21      me, "Go and find a name."
22             Q.    In                  or prior, did you send any
23      emails to anyone regarding naming the feature that
24      would be called Memoji?
25             A.    I -- I don't -- I don't know if I did or

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1       bullet says, "App Store supported in text."
2                    What does that mean?
3              A.    Give me a second.            I --
4              Q.    Sure.
5              A.    -- I don't immediately know.            Give me a
6       second to think about it.
7                    (Pause while witness peruses document.)
8              A.    I -- I don't know.
9              Q.    Do you think it relates to Memoji?
10             A.    I do not believe it relates to Memoji.
11             Q.    Okay.    Did you have a brainstorming
12      session for the software feature that was to become
13      named Memoji?
14             A.    There was a brainstorming session for that
15      name, yes.
16             Q.    Was there more than one brainstorming
17      session?
18             A.    I only remember one brainstorming session.
19             Q.    Do you remember when that brainstorming
20      session was?
21             A.    It would have been generally around this
22      time frame.      If this was sent                   , I would
23      imagine it would be -- I would guess it would be a
24      little bit following this.
25             Q.    Was it in person?

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1              A.    Yes.    I was not at the meeting, but this
2       was an -- an in-person brainstorming session.
3              Q.    Do you know who attended that meeting?
4              A.    The invitee list would have been my team.
5       But I'm not sure who specifically attended.
6              Q.    How did you know that they -- that those
7       people had attended a brainstorming meeting?
8              A.    I remember working with -- a meeting with
9       Ronak Shah prior to the meeting to discuss naming
10      and the need for the brainstorming meeting.                 And I
11      had wanted to attend the brainstorming meeting but
12      was not able to.        And then I remember discussing
13      with Ronak post the meeting as well.                 So I was --
14             Q.    Okay.    So let's start with the meeting
15      with Ronak before the meeting.                 What did you talk
16      about?
17             A.    The specifics that I can remember was
18      going over where his -- I remember seeing his
19      current thinking on naming, which I -- I don't
20      remember the specific list.               And I remember talking
21      about making sure that we set up a brainstorming
22      meeting to further flush out ideas.
23             Q.    Did you talk to legal before that
24      brainstorming meeting?
25             A.    I do not believe we did, about the Memoji

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1       mark at least.
2              Q.    Yes.
3              A.    Right.
4              Q.    Do you -- do you recall what you spoke
5       with Ronak after the brainstorming meeting about?
6              A.    It would have been to go over the list of
7       names and thoughts that they had collected during
8       that meeting.
9              Q.    Do you have any recollection of that
10      conversation?
11             A.    Not more specifically than remembering
12      that we had the meeting.            I don't -- I don't
13      remember --
14             Q.    You don't --
15             A.    I mean -- go ahead.             Ask your question.
16             Q.    Do you recall whether Memoji was the front
17      runner of the naming discussed?
18             A.    I -- I believe Memoji was the front runner
19      at that time.
20             Q.    After that meeting did you talk to legal?
21             A.    At some point after that, yes.
22             Q.    And who did you talk to at legal regarding
23      the Memoji name?
24             A.    Tom LaPerle.
25             Q.    And what did you say to Tom LaPerle?

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1       foundation.
2                    THE WITNESS:        So, again, I wasn't directly
3       involved with the launch of the Animoji feature, so
4       I'm not deeply familiar with everything that went
5       there.
6                    But as with any top feature, there is a
7       range of marketing activities that we do and
8       continue to have ongoing in terms of how we
9       communicate about our features.
10      BY MR. HECHT:
11             Q.    What do those activities include?
12             A.    From web pages to ongoing highlights as
13      part of press tours, and, you know, potentially
14      billboards and tweets, television advertisements are
15      all possible things.          And I'm sure that is far from
16      an exhaustive list.
17             Q.    Would you have been involved with those
18      types of activities for Memoji?
19             A.    So communications around product launch,
20      such as press releases, communication to sales team,
21      web keynote press releases, I would have been
22      actively involved in.
23                   And I believe, to the extent that we did
24      any TV advertising or billboards, I was also aware
25      of those.      But those were not -- those are not

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1       BY MR. HECHT:
2              Q.    Do you recognize this email?
3              A.    Yes, I do.
4              Q.    And what is this email?
5              A.    This is Brian Croll's response to the
6       email response we just reviewed by Scott Miller.
7              Q.    And it leads with, "Here's my take on what
8       a video would solve."
9                    What -- what was this video that he's
10      referring to, or potential video?
11             A.    He is referring to the request to have a
12      video for Screen Time.
13             Q.    This is not related to --
14             A.    Not related to Memoji.
15                                 (Exhibit 147 was marked for
16                                 identification and attached
17                                 hereto.)
18      BY MR. HECHT:
19             Q.    Do you recognize Exhibit 147?
20             A.    Yes.
21             Q.    This is an email from you to Craig
22      Federighi, cc'ing other individuals.                Is this the
23      email that you had sent on                                 at 1834?
24             A.    I believe it is.
25             Q.    On the top email you say that

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1                   is what we landed on the last time we
2       discussed."
3                     What did you mean by that?
4              A.     So I think at this point we had -- we were
5       fairly settled on our naming sort of strategy, which
6       is Memoji remained our favorite choice if we got
7       clearance, and                                 was the name that we
8       were planning to use if Memoji was not cleared.
9              Q.     Did you bold the Memoji new name in the --
10      I guess the inline email?
11             A.     I did not.
12             Q.     Are any of the people on this email
13      attorneys?
14             A.     No, they're not.
15             Q.     Craig Federighi is not an attorney; is
16      that right?
17             A.     That is correct.
18             Q.     Scott Miller is not an attorney; is that
19      correct?
20             A.     That is correct.
21             Q.     Greg Joswiak is not an attorney?
22             A.     That is correct.
23             Q.     Brian Croll is not an attorney?
24             A.     That is also correct.
25             Q.     Did you have any -- were you ever told

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1       the names the way that we -- we currently were
2       referencing.
3                    MS. TORRES:       Counsel, I'm going to insert
4       a belated objection to form.               I -- I think you
5       misspoke in your question.
6       BY MR. HECHT:
7              Q.    I think we both understood the Q and A.
8       I'm going to move on to the next question.
9                    Then you ask in this email, "Do we want to
10      ask about the performance -- about performance
11      improvements or
12                   Was                             the marketing name at
13      that point on                             for the software
14      feature?
15             A.    As answered before,                                   was
16      our plan B if we couldn't clear the Memoji name.
17                   And at this time, we hadn't gotten the
18      final clearance on the Memoji name yet.
19             Q.    So at this point, you were unsure about
20      the final name for that software feature that would
21      become known as Memoji?
22             A.    That is correct.
23             Q.    And then on                   , then, the first
24      page, your email, second in the chain says, "The
25      official name for                                   is Memoji."

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1                    Was that -- how did you come to know that
2       the official name would be Memoji?
3              A.    We would have received clearance from our
4       legal team by that point.
5              Q.    And did you review a final survey document
6       from Jed by                         ?
7                    MS. TORRES:       Objection to form.
8                    THE WITNESS:        I don't know.       I do not
9       remember reviewing another version, but I may have.
10                                 (Exhibit 151 was marked for
11                                 identification and attached
12                                 hereto.)
13      BY MR. HECHT:
14             Q.    Have you seen these results before?
15             A.    I reviewed these briefly yesterday during
16      preparation.
17             Q.    Had you seen these results previously to
18      yesterday?
19             A.    I do not believe I had.
20             Q.    Do you know when this survey was
21      performed?
22             A.    I do not know.
23             Q.    Is this the same format as you -- scratch
24      that question.
25                   Do survey results generally come in a pdf

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1                                    DECLARATION
2
3                   I hereby declare I am the deponent in the within
4       matter; that I have read the foregoing transcript and
5       know the contents thereof; and I declare that the same
6       is true of my knowledge except as to the matters which
7       are therein stated upon my information or belief, and
8       as to those matters, I believe them to be true.
9                   I declare under the penalties of perjury
10      under the laws of the United States that the
11      foregoing is true and correct.
12
13                                                      24
                    This declaration is executed this _______ day
14             July
        of _______________________, 2019, at
15             Cupertino
        ________________________________, California.
16
17
18                               _________________________________
19                                            KURT KNIGHT
20
21
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23
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25

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                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION

SOCIAL TECHNOLOGIES LLC, a Georgia                )
limited liability company,                        )
                                                  )         CASE NO.: 3:18-cv-05945-VC
                Plaintiff,                        )
         vs.                                      )
                                                  )         ERRATA FOR JUNE 21, 2019
APPLE INC., a California corporation,             )         DEPOSITION OF KURT KNIGHT
                                                  )
                Defendant.                        )
                                                  )


    PAGE:LINE                                  CHANGE                                REASON
  37:2                Change “Alan Dai” to “Alan Dye”                                   TE
  37:5                Change “Alan Dai” to “Alan Dye”                                   TE
  37:6                Change “Alan Dai” to “Alan Dye”                                   TE
  37:21               Change “Alan Dai” to “Alan Dye”                                   TE
  37:23               Change “Alan Dai” to “Alan Dye”                                   TE
  37:25               Change “Alan Dai” to “Alan Dye”                                   TE
  38:17               Change “Alan Dai” to “Alan Dye”                                   TE
  42:10               Change “Alan Dai” to “Alan Dye”                                   TE
  42:11               Change “Alan Dai” to “Alan Dye”                                   TE
  43:18               Change “Alan Dai’s” to “Alan Dye’s”                               TE
  46:4                Change “Alan Dai” to “Alan Dye”                                   TE
  _________________
 *TE = Transcription Error

       I declare under penalty of perjury under the laws of the United States that the foregoing is
 true and correct.

         Executed this ____                      Cupertino
                        25 day of July 2019 at ______________, California.




                                                                      Kurt Knight
